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               Exhibit 2
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       U.S. Patent No. 8,488,624 V. Kalkitech




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Claim Chart
       Claim                                                  Analysis
[1.P] 1. A method      Kalkitech (“Defendant”) performs a method for implementing a network interface in a
for implementing a     computer network performed by a special-purpose computer programmed by a frame
network interface in   engine.
a computer network
performed    by    a   This element is infringed literally, or in the alternative, under the doctrine of
special-purpose        equivalents.
computer
programmed by a        For example, Defendant provides the SYNC 2000 M5 Secure Substation Gateway which
frame        engine    is a secure substation gateway which comprises a protocol gateway that supports more
comprising:            than 40 industry standards, proprietary communication protocols, and a multi-faceted
                       security sentry that combines role-based access control, a firewall, security log, and
                       encrypted communications. Further, it is ideal for installing in sub-transmission and
                       distribution substations as a secure data concentrator/gateway for connecting various
                       legacy and new generation downstream devices to a centralized control centre.




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Source: https://kalkitech.com/products/protocol-converter/sync2000/




Source: https://www.congnghevienthong.com/upload/files/SYNC%202000.pdf




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Source:
https://kalkitech.com/wp-content/uploads/2020/08/Secure_Substation_Gateway_Brochu
re.pdf




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                        Source: https://kalkitech.com/platforms/kalkiioedge/

[1.1] receiving one     Defendant performs the step of receiving one or more data packets encoded in a first
or    more     data     communication protocol.
packets encoded in
a               first   This element is infringed literally, or in the alternative, under the doctrine of
communication           equivalents.
protocol;
                        For example, Defendant provides the SYNC 2000 M5 Secure Substation Gateway,
                        comprises a protocol gateway that supports more than 40 industry standards,
                        proprietary communication protocols from major Intelligent Electronic Device (IED)
                        equipment vendors, and a multi-faceted security sentry that combines role-based
                        access control, a firewall, security log, and encrypted communications. When deployed
                        in utility substations it can connect and collect real time data, historical/profile data,
                        fault file or event recordings on standard protocols such as IEC 61850, IEC 60870,
                        DNP3.0 and Modbus, from protection and metering devices.

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Source:
https://kalkitech.com/wp-content/uploads/2020/08/Secure_Substation_Gateway_Brochu
re.pdf




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Source: https://www.congnghevienthong.com/upload/files/SYNC%202000.pdf




Source:
https://kalkitech.com/wp-content/uploads/2020/08/Secure_Substation_Gateway_Brochu
re.pdf




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Source: https://taat.pe/wp-content/uploads/2020/10/RTU_Sync2000_Brochure.pdf




Source: https://www.congnghevienthong.com/upload/files/SYNC%202000.pdf


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                    Source: https://kalkitech.com/platforms/kalkiioedge/




                   Source: https://kalkitech.com/platforms/kalkiioedge/utility-gateway/
[1.2] decoding the Defendant performs the step of decoding the data packets into a set of data objects

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data packets into a     wherein the data packets are decoded in accordance with a machine-readable set of
set of data objects     protocol frame definitions containing one or more sub-fields for parsing of the data
wherein the data        packets.
packets           are
decoded            in   This element is infringed literally, or in the alternative, under the doctrine of
accordance with a       equivalents.
machine-readable
set   of    protocol    For example, Defendant’s SYNC 2000 M5 Secure Substation Gateways can collect IED
frame     definitions   data which can be stored, processed and converted to any telemetry protocol for
containing one or       transfer to the control center. This data can also be sent to a local SCADA station or
more sub-fields for     over the built-in web HMI interface. In addition to data collection, it can also be used to
parsing of the data     create a direct tunnel from a central protection management system to IEDs for remote
packets;                configuration and parameterization. Furthermore, this series gateways support, JSON
                        (JavaScript Object Notation), https and REST APIs tools to enable on-premises systems
                        which can be tailored to meet specific customer requirements. Thus, this platform
                        processes raw data into insightful information, before transmission to the cloud. This
                        not only reduces costs by minimizing the amount of data uploaded, but also facilitates
                        data visualization on digital dashboards.




                        Source: https://kalkitech.com/wp-content/uploads/2021/10/WP030021_Data-hub-
                        accelerating-digital-transformation-journey-for-utilities-2.pdf




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Source:
https://www.ase-systems.com/products/kalkitech-products-platform/#Kalkitech_SYNC_P
roducts




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Source: https://kalkitech.com/platforms/kalkiioedge/


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Source:         https://www.ase-systems.com/kalkitech-unveils-new-sync-2000-secure-
substation-gateway-platform/




Source: https://kalkitech.com/wp-content/uploads/2020/12/WP030015.pdf



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Source:https://kalkitech.com/wp-content/uploads/2021/10/WP030021_Data-hub-
accelerating-digital-transformation-journey-for-utilities-2.pdf




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[1.3] and encoding      Defendant performs the step of encoding the data objects into a second
the data objects        communication protocol wherein the data objects are encoded in accordance with the
into    a     second    machine-readable set of protocol frame definitions.
communication           This element is infringed literally, or in the alternative, under the doctrine of
protocol     wherein    equivalents.
the data objects are
encoded            in   For example, Defendant’s SYNC 2000 M5 Secure Substation Gateways have field-
accordance with the     proven and support a wide range of communication protocols including IEC 60870-5-
machine-readable        101/103/104, DLMS/COSEM, Modbus, as well as legacy and proprietary protocols such
set   of    protocol    as SPA, SEL, Courier and many more. The product complies with security features like
frame definitions.      integrated firewall; TLS/IEC 62351-3 communication, standard, security log recording
                        access, events and alarms, and encrypted communications. Further it consists of
                        Kalki.io which is a Data acquisition middleware as a Service for Telemetry, IoT,
                        Metering applications which supports Internet of Things (IoT) protocols such as MQTT,
                        CoAP, AMQP which helps in connecting latest IoT based sensors/edge devices in the
                        field. It provides various connectors on Web-socket, REST APIs, MQTT etc for integrating
                        with IT applications, it also has native connectors for popular cloud platforms and asset
                        performance management applications.




                        Source:
                        https://kalkitech.com/wp-content/uploads/2020/08/Secure_Substation_Gateway_Brochu
                        re.pdf


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Source: https://kalkitech.com/platforms/kalkiioedge/




Source:https://kalkitech.com/wp-content/uploads/2021/10/WP030021_Data-hub-
accelerating-digital-transformation-journey-for-utilities-2.pdf




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Source: https://kalkitech.com/products/data-concentrator/sync-2000-m5/




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Source: https://kalkitech.com/wp-content/uploads/2020/12/WP030015.pdf




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